21-11298-lgb        Doc 297       Filed 02/17/22 Entered 02/17/22 08:15:50     Main Document
                                               Pg 1 of 3



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                        Chapter 11

286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298 (LGB)

                                           Debtor.
----------------------------------------------------------X

                      ORDER AUTHORIZING RELEASE OF DEPOSIT

         WHEREAS, on December 13, 2021, the Court entered the Order (A)

Approving Bid Procedures in Connection With the Sale of the Debtor’s Real

Property, (B) Approving Form and Manner of Notice of Sale, and (C) Scheduling

Auction (ECF Doc. 200) (“Bid Procedures Order”) which set forth the bidding

procedures in connection with the sale of 286 Rider Ave Acquisition LLC’s

(“Debtor”) real property located at 286 Rider Avenue, Bronx, New York (“Property”);

         WHEREAS, pursuant to the Bid Procedures Order, Vaja Group LLC (“Vaja”)

entered into a Purchase and Sale Agreement dated January 2022 (“Contract”) for

the purchase of the Property and remitted $1,050,000 (“Deposit) as a good faith

deposit to Robinson Brog Leinwand Greene Genovese & Gluck P.C. (“Escrow

Agent”);

         WHEREAS, on January 10, 2022, the Debtor filed a Stalking Horse Notice

(ECF Doc. 255) seeking to approve Vaja as the stalking horse under the Bid

Procedures Order;

         WHEREAS, on February 11, 2022, the Court entered the Order Regarding

Development’s Motion to Confirm Disputed Payoff Amounts, Satisfaction of DIP


{01138068.DOC;1 }
21-11298-lgb             Doc 297   Filed 02/17/22 Entered 02/17/22 08:15:50   Main Document
                                                Pg 2 of 3



Loan, and for Related Relief and Supplement to Same (ECF Doc. 293) which

adjourned the designation Vaja as the stalking horse bidder to April 12, 2022 and

adjourned the auction for the Property to April 13, 2022;

         WHEREAS, on February 11, 2022, counsel to Vaja delivered a letter to the

Debtor, which is attached to this Order as Exhibit A, requesting Escrow Agent

release the Deposit on the basis that the auction for the Property has been

adjourned from January 14, 2022 to April 13, 2022, and because of the delay, Vaja

will no longer be able to qualify for the 421-A tax exemption intended under the sale

of the Property; and

         WHEREAS, the Purchase and Sale Agreement provides that in the event the

sale does not occur withing three months from the date of the contract, the Buyer

would have the right to terminate the Purchase and Sale Agreement and receive a

refund of the Deposit; and

         WHEREAS, because of the delays in holding the auction, it would no longer

be equitable for Escrow Agent to continue holding the Deposit;

         IT IS HEREBY ORDERED THAT

                    1.      The Purchase and Sale Agreement is hereby terminated.

                    2.      Escrow Agent is hereby authorized to return the Deposit to Vaja

upon entry of this Order.

                    3.      Escrow Agent is authorized to take all action necessary to

effectuate the relief granted in this Order.




{01138068.DOC;1 }                                 2
21-11298-lgb             Doc 297   Filed 02/17/22 Entered 02/17/22 08:15:50   Main Document
                                                Pg 3 of 3



                    4.      The Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation, interpretation, and/or

enforcement of this Order.

Dated: New York, New York
       February 17th, 2022


                                                /s/ Lisa G. Beckerman_
                                                HONORABLE LISA G. BECKERMAN
                                                UNITED STATES BANKRUPTCY JUDGE




{01138068.DOC;1 }                                 3
